













Opinion issued March 4, 2010 








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-10-00019-CV
____________

HOUSTON-GALVESTON AREA COUNCIL, Appellant

V.

ALLISON WALTERS, Appellee




On Appeal from the149th District Court
Brazoria County, Texas
Trial Court Cause No. 53451




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss the appeal.  No opinion
has issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Keyes, Sharp, and Massengale.


